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                      UNITED STATES BANKRUPTCY
                       COURT MIDDLE DISTRICT OF
                        FLORIDA TAMPA DIVISION
                           www.flmb.uscourts.gov

In re:                                        Case No: 8:22-bk-00690-MGW
                                              Chapter 13
TERESA M. GAFFNEY,

               Debtor.
         _____________________/


                                   EXHIBIT 5
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 15.      The Judge in DC informed Ms. Sussman that he had no
     jurisdiction over Mr. Kangas in regards to a TRO or
     Preliminary Injunction, since the acts committed by Mr.
     Kangas occurred inFlorida.
 16.      The Judge apologized to Ms. Sussman because he
     couldn't do more to protect Ms. Sussman.
 1 7.      Ms. Sussman asked if she should get an injunction
     against Mr. Kangas.
 18.      The Judge responded after reviewing the file that "no
    piece of paper(i.e. TRO) would protect [Ms. Sussman] from the
    likes of Mr. Kangas".
 19.      I am aware that Ms. Sussman continues to live in fear of
    what Mr. Kangas will do to her next.
 20.      Ms. Sussman will not disclose her location to anyone
    because of the terror that she lives in because of Mr. Kangas.
 21.      I do keep in contact with Ms. Sussman due to my grave
    concern for her safety because of Mr. Kangas and because her
    Father       ed me to watch over her.
 22.                          herein are true and correct to the
                       �i"'+-ln




        The foregoing instrument was SWORN TO and
SUBSCRIBED before me on the '26 day of (Y)d,Y , 2022, by

                                    �>r�
                                      �.O
GEORGEF.BRAUN.


                                           Notary Public
                                                              r
                                    print: A I 0cCt Ad-v- J. '·-1--4) V
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                                      My commission expires on 0y (t'i j<J-09-°S
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